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 5                          UNITED STATES DISTRICT COURT
 6                        FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                         No. CR-13-2045-EFS-2

 9                       Plaintiff,                  Order Denying Defendant's Second
10                                                   Motion for Reconsideration of Order
     vs.                                             of Detention (ECF 67)
11
12 KYLE ALAN RICHARDSON,
13
                         Defendant.
14
15         The matter came on for hearing on May 28, 2013. The United States was
16   represented by AUSA Benjamin Seal. The Defendant was represented by James
17   Egan. The Court heard argument in open court and at side bar. The Court is fully
18   informed.
           The United States has invoked the rebuttable presumption against the
19
20   Defendant under Section 3142(e). The Defendant is charged with a drug offense

21   with a minimum penalty of 10 years in custody or more.
22         Defendant has proposed that he be released to live with his father in
23   Lewiston, Idaho. He agrees to attend daily AA meetings and submit to daily
24   urinalysis testing, He would agree to home detention and electronic monitoring.
25   The Court has twice before considered those conditions and found them wanting.
26   ECF 49 and ECF 60. Defendant has a serious drug addiction and needs in patient
27   treatment in a secure facility.
28



     ORDER - 1
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 1         Defendant's primary reason for seeking release again is that he has suffered

 2   from some medical conditions while in jail. Those conditions include congestive
 3   heart failure (diagnosed in 2002), insulin dependent diabetes, gall stones and gout.
 4   The Court notes as to the congestive heart failure, that since diagnosis, Defendant
 5   has been convicted of battery, assault, violation of a protective order and
 6   possession of a controlled substance. Thus, Defendant's criminal behavior does not
 7   seem to have been impacted or slowed by his heart condition. He has also been
 8   charged with 3 separate and pending cases involving delivery of a controlled
 9   substance. His diabetes appears controlled by insulin and he has received treatment
10   in jail for the gall stones and gout.
11         The Court does not find that the Defendant has overcome the presumption of
12
     detention. He has not been compliant with prior court orders even after posting a
13
     cash bond on one of the pending drug cases in Idaho. He and his family do not
14
     have the means to pay for inpatient treatment or electronic home monitoring.
15
     Although Defendant may have involuntarily "detoxed" by virtue of his
16
     incarceration, he does not have the tools necessary to maintain a clean and
17
     abstinent life style if the Court released him.
18
           The Court DENIES the Defendant's Second Motion for Release.
19
20         IT IS SO ORDERED.
21         DATED this 28th day of May, 2013.
22
                                   s/James P. Hutton
23
                                  JAMES P. HUTTON
24                        UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
